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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3019
           v.                        )
                                     )
TERESA MARIE JONES,                  )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     1. Defendant’s motion for change of residence, filing 152,
is granted.

     2. The clerk is directed to remove filing number 152 from
the public docket sheet and file it as a sealed pleading pursuant
to the E-Government Act.

     DATED this 3rd day of March, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
